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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:                                         : CHAPTER 13
 DWAYNE TERRELL ZANDERS                         : CASE NUMBER A18-53121-JWC
       DEBTOR                                   :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

       Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
       days following the Confirmation Hearing held on May 8, 2018:

       As to whether Debtor provided a copy of the 2017 tax return

       As to whether Debtor filed amended schedules

       As to whether Debtor filed an amended plan

       As to whether Debtor’s plan payments are current

       The Attorney for the Trustee has reviewed the case as instructed and:

       Recommends dismissal because:

       The Debtor has failed to file amended plan and schedules to add notice and
       treatment for domestic support parent

       Please enter an Order of Dismissal

       This the 25th day of May, 2018.

                             ___/s/_________________________
                             Julie M. Anania, Attorney for Chapter 13 Trustee
                             GA Bar Number 477064
                             303 Peachtree Center Ave., NE - Suite 120
                             Atlanta, GA 30303
 /ds                         (678) 992-1201
  Case 18-53121-jwc          Doc 30  Filed 05/25/18 Entered 05/25/18 12:57:57             Desc
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                                  CERTIFICATE OF SERVICE
Case No: A18-53121-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
DWAYNE TERRELL ZANDERS
1685 STOKES AVENUE SW
ATLANTA, GA 30310




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
KING & KING LAW LLC
karen.king@kingkingllc.com




This the 25th day of May, 2018.


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
